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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 ANNA MCNEIL, ELIANA SINGER, RY
 WALKER, on behalf of themselves and all
 others similarly situated, and ENGENDER on
 behalf of itself, its members and all others
 similarly situated                                         Case No. 3:19-cv-00209-VAB

 Plaintiffs,
                                                            March 19, 2021
 v.

 Yale Chapter of Alpha Delta Phi International,
 Inc.; Alpha Epsilon Pi, Epsilon Upsilon; Alpha
 Kappa Delta of Chi Psi; Delta Kappa Epsilon,
 Phi Chapter; Leo; Sigma Chi, Theta Upsilon
 Chapter; Sigma Nu Fraternity Beta Alpha
 Chapter; Sigma Phi Epsilon, Connecticut Delta
 Chapter; Zeta Psi, ETA Chapter; Alpha Delta
 Phi International, Inc.; Alpha Epsilon Pi
 Fraternity, Inc.; Chi Psi Fraternity; Delta Kappa
 Epsilon Fraternity; Sigma Alpha Epsilon
 Fraternity; Sigma Chi International Fraternity;
 Sigma Nu Fraternity, Inc.; Sigma Phi Epsilon
 Fraternity; Zeta Psi Fraternity, Inc.; Sig Ep
 Housing of Connecticut Delta, LLC; Edward J.
 Donahue III; Mother Phi Foundation, Inc.;
 Connecticut Omega of Sigma Alpha Epsilon
 House Corporation; House Corporation of Sigma
 Chi at Yale, Inc.; High Street Housing
 Corporation; ZP Nutmeg Associates Inc.

                    Defendants.

                                     NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs Anna McNeil, Eliana Singer, and Ry Walker, on

behalf of themselves and all others similarly situated, and Plaintiff Engender, on behalf of itself,

its members and all others similarly situated (collectively, “Plaintiffs”), hereby appeal to the

United States Court of Appeals for the Second Circuit from the Opinion and Order, Dkt. No. 128

(“Order”), granting Defendants’ Yale Chapter of Alpha Delta Phi International, Inc.; Alpha
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Epsilon Pi, Epsilon Upsilon; Alpha Kappa Delta of Chi Psi; Delta Kappa Epsilon, Phi Chapter;

Leo; Sigma Chi, Theta Upsilon Chapter; Sigma Nu Fraternity Beta Alpha Chapter; Sigma Phi

Epsilon, Connecticut Delta Chapter; Zeta Psi, ETA Chapter; Alpha Delta Phi International Inc.;

Alpha Epsilon Pi Fraternity, Inc.; Chi Psi Fraternity; Delta Kappa Epsilon Fraternity; Sigma Alpha

Epsilon Fraternity; Sigma Chi International Fraternity; Sigma Nu Fraternity, Inc.; Sigma Phi

Epsilon Fraternity; Zeta Psi Fraternity, Inc.; Sig Ep Housing of Connecticut Delta LLC; Edward

J. Donahue III; Mother Phi Foundation, Inc.; Connecticut Omega of Sigma Alpha Epsilon House

Corporation; House Corporation of Sigma Chi at Yale, Inc.; High Street Housing Corporation; ZP

Nutmeg Associates Inc.’s motion to dismiss Plaintiffs’ claims alleged in Plaintiffs’ Second

Amended Complaint, entered in this action on January 30, 2020. Dkt. No. 128. Specifically,

Plaintiffs appeal those portions of the Order granting dismissal of their claims under the Federal

Fair Housing Act, 42 U.S.C. §§ 3601 et seq. (Count III of the Second Amended Complaint) and

the Connecticut Discriminatory Housing Practices Act, Conn. Gen. Stat. §§ 46a-64b & 46a-64c

(Count IV of the Second Amended Complaint). The final judgment in this action was entered on

February 26, 2021. Dkt. No. 143.



Dated: March 19, 2021

                                                    Respectfully submitted,

                                                    /s/ David Tracey

                                                    David Sanford*
                                                    Andrew Melzer*
                                                    David Tracey*
                                                    Albert Powell*
                                                    Scott Sullivan*
                                                    Meredith Firetog*
                                                    Carolin Guentert*

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